Case 21-14978-abl Doc 561-2 Entered 05/15/23 20:57:43 Page1lof3

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Case 21-14978-abl Doc 561-2 Entered 05/15/23 20:57:43 Page 2 of 3

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WB MUSIC CORP., et al. ) Case No: 5:16-cv-00600-JGB(SPx)

)
Plaintiffs, ) ACKNOWLEDGEMENT OF
) SATISFACTION OF JUDGMENT

Vv. )
) Jury Verdict: March 13, 2018

ROYCE INTERNATIONAL )
BROADCASTING CORP., et al., ) The Hon. Jesus G. Bernal
) Courtroom: |
Defendants.

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ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT

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1 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
2 Plaintiffs WB Music Corp., et al. (“Plaintiffs”) hereby give notice that the
3 || Third Amended Judgment entered on May 20, 2021 (Dkt. 429), in favor of Plaintiffs
4 || and against Defendants Royce International Broadcasting Corporation, Playa Del Sol
5 || Broadcasters, Silver State Broadcasting, LLC, Golden State Broadcasting, LLC, and
6 || Edward R. Stolz, II in this action, has been satisfied. Plaintiffs therefore respectfully
7 || request that the Clerk of this Court make proper entries and recordings to effect full
8 || satisfaction of judgment.
9
10
Il || Dated: July 23, 2021 ARNOLD & PORTER KAYE SCHOLER LLP
12
13 By: /s/ Sharon D. Mayo
14 Sharon D. Mayo
15 Sharon D. Mayo
16 Laura E. Watson
7 ARNOLD & PORTER KAYE SCHOLER LLP
18 Jackson Wagener (pro hac vice)
AMERICAN SOCIETY OF COMPOSERS,
19 AUTHORS AND PUBLISHERS
20 Attorneys for Plaintiffs
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